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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA

    BRUCE CHARLES, on behalf of himself                    *      JUDGE ELIZABETH E. FOOTE
    and all other similarly situated prisoners at          *      USMJ MARK L. HORNSBY
                                                           *
    David Wade Correctional Center
                                                           *
                                                           *
           and
                                                           *
    ADVOCACY CENTER,                                       *
                                                           *
                   PLAINTIFFS                              *      CIVIL ACTION NO.
                                                           *      5:18-cv-00541 -EEF-MLF
    VERSUS                                                 *
                                                           *
                                                           *
    JAMES M. LEBLANC, et al,
                                                           *
                                                           *
                   DEFENDANTS


          REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR
          SUMMARY JUDGMENT REGARDING EIGHTH AMENDMENT CLAIMS


                                                    Respectfully Submitted:

                                                    JEFF LANDRY,
                                                    ATTORNEY GENERAL

                                                    BUTLER SNOW, LLP
                                                    445 North Boulevard, Suite 300 (70802)
                                                    P. O. Box 2997
                                                    Baton Rouge, Louisiana 70821-2997
                                                    Telephone: (225) 325-8700
                                                    Facsimile: (225) 325-8800

                                                    Randal J. Robert (#21840)
                                                    Connell L. Archey (#20086)
                                                    Keith J. Fernandez (#33124)
                                                    Special Assistant Attorneys General
                                                    Email: randy.robert@butlersnow.com
                                                            connell.archev@butlersnow.com
                                                            keith.fernandez@butlersnow.com

                                                    Counsel for Defendants
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                                                                           IV
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    MAY IT PLEASE THE COURT:

           This reply memorandum is submitted on behalf of the Louisiana Department of Public

    Safety and Corrections (“DOC”); James M. Leblanc, in his official capacity as Secretary of the

    DOC; Jerry Goodwin, in his official capacity as Warden of David Wade Correctional Center

    (“DWCC”); Deborah Dauzat, in her official capacity as Assistant Warden of DWCC; and Lonnie

    Nail, Dr. Gregory Seal, Steve Hayden, Aerial Robinson, and Johnie Adkins (all in their official

    capacities as employees of DWCC (collectively the “Defendants”) in support of their motion

    for summary judgment. For the reasons set forth in the briefing and supporting exhibits, the

    Defendants are entitled to summary judgment.

           The Plaintiffs have failed to show a genuine issue of material fact regarding both the

    objective and subjective risk of harm prongs. Without either of these, the Plaintiffs cannot

    succeed on an Eighth Amendment claim. The undisputed fact that Plaintiffs’ expert Dr.

    Haney’s hypothesis has not been proven by scientific studies, either globally or at DWCC,

    defeats Plaintiffs’ contention that restrictive housing as used at DWCC creates mental

    illness in those without prior mental illness and exacerbates mental illness in those with

    preexisting mental illness. Since this theory is not proven, it also defeats any subjective risk

    of serious harm.

           Because the Plaintiffs cannot demonstrate their theory scientifically, they instead

    focus on incomplete anecdotes with self-serving slants that are not supported by the

    documentation.     For instance, as detailed herein, the Plaintiffs ignore cause and effect

    consistently throughout their opposition. No mention is made of the serious disciplinary

    violations that putative class members committed that got them assigned to maximum

    custody.   The antecedent for assignment to this custody status informs classification

    decisions going forward. As is the case around the country, custody decisions at DWCC are

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    made by classification professionals based on the seriousness of past offenses and

    disciplinary conduct.    The goals of classification—and corrections for that matter—is to

    promote the safety of the public, the staff, and the other offenders.

           Plaintiffs also make unsupported arguments that Defendants do not adequately screen

    offenders, do not adequately identify mental illness and do not adequately treat offenders

    with mental illness. As discussed in both Defendants original memorandum and below,

    Defendants do provide adequate overall care to offenders in all of these areas. Plaintiffs

    arguments are not supported by the facts or the law.            Moreover, as discussed below,

    Plaintiffs arguments are not supported in many cases by their own experts.

           Further, in some cases, the Plaintiffs rely on misstatements of fact from putative class

    members that do not comport with the reality of why offenders were placed in restrictive

    housing. Finally, the Plaintiffs focus on their descriptions of incidents from 3-5 years ago

    that do not reflect current conditions as required. As a result, the Plaintiffs’ have failed to

    create a genuine issue of material fact as to their Eighth Amendment claims.

    I.     Plaintiffs’ Opposition Fails to Address the Objective Risk of Harm Element

           “Prison officials [may] violate the Eighth Amendment when they demonstrate deliberate

    indifference to a prisoner’s serious medical needs.” Brewster v. Dretke, 587 F.3d 764, 769 (5th

    Cir. 2009) (citing Wilson v. Setter, 501 U.S. 294, 297, 111 S. Ct. 2321, 2323 (1991)). “Deliberate

    indifference is an ‘extremely high’ standard to meet.” Id. at 770; see also Domino v. Texas Dep’t

    of Crim. Justice, 239 F.3d 752, 756 (5th Cir. 2001). “Deliberate indifference ‘is a stringent

    standard of fault, requiring proof that a municipal [or state] actor disregarded a known or obvious

    consequence of his [, her or its] action.’” Shadrick v. Hopkins Cnty., 805 F.3d 724, 737 (6th Cir.

    2015) (quoting Bd. of Cty. Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 410, 117 S.Ct. 1382

    (1997)). Only “unnecessary and wanton infliction of pain” is proscribed by the Eighth

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    Amendment. Estelle v. Gamble, 429 U.S. 97, 103, 97 S. Ct. 285, 290 (1976). “Deliberate

    indifference is an extremely high standard to meet.” Cadena v. El Paso Cty., 946 F.3d 717, 728

    (5th Cir. 2020); Valentine v. Collier, 956 F.3d 797, 801 (5th Cir. 2020), cert, denied, 2020 WL

    2497541 (5/14/20).

            The Fifth Circuit in Valentine explained that:

            To satisfy the objective requirement, the plaintiff must show an “objectively
            intolerable risk of harm.” [.Farmer v. Brennan, 511 U.S. 825, 846, 114 S.Ct. 1970
            (1994).] To satisfy the subjective requirement, the plaintiff must show that the
            defendant: “(1) was ‘aware of facts from which the inference could be drawn that
            a substantial risk of serious harm exists’; (2) subjectively ‘dr[e]w the inference’
            that the risk existed; and (3) disregarded the risk.” Cleveland v. Bell, 938 F.3d
            672, 676 (5th Cir. 2019) (quoting Farmer, 511 U.S. at 837, 114 S.Ct. 1970).

    The Fifth Circuit in Valentine held that “after accounting for the protective measures TDCJ has

    taken, the Plaintiffs have not shown a ‘substantial risk of serious harm’ that amounts to ‘cruel

    and unusual punishment.’” Id.

            Plaintiffs ignore the Defendants’ arguments that Dr. Haney’s opinions are not based upon

    the scientific method and are contrary to the science.       Plaintiffs then make the astounding

    representation that the risk of placing people in lockdown conditions has been widely recognized

    as unconstitutional by the court.1 That statement is not true. To the contrary, the United States

    Supreme Court has acknowledged that “harsh conditions [of administrative segregation] may

    well be necessary and appropriate in light of the danger that high-risk inmates pose both to

    prison officials and to other prisoners.” Wilkinson v. Austin, 545 U.S. 209, 224, 125 S. Ct. 2384,

    2395 (2005).

            Thus, considering the objective scientific evidence represented by the Colorado study, the

    two meta-analyses, and the NIJ White Paper, there is no genuine issue demonstrating an

    objective risk of harm caused by the use of restrictive housing.

    'R. Doc. 428, p. 17.

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        II.       Defendants appropriately identify and diagnose mental illness.

               Plaintiffs argue that Defendants do not identify and diagnose mental illness despite

     contrary testimony from their own experts.2 Dr. Burns testified that Dr. Seal appropriately

     diagnoses offenders and that the LOC assigned to offenders is appropriate.3 Plaintiffs’ lawyers’

     argument, made consistently without support, should be rejected. For example, Plaintiffs’

     lawyers state that “DWCC grossly under identifies individuals needing mental health

     intervention.”4 Not only is that statement made without support, Dr. Burns directly contradicts

    that assertion. Since Dr. Burns directly contradicts and refutes Plaintiffs’ arguments, Plaintiffs’

    arguments that Defendants do not identify and diagnose mental illness are without merit.

        III.      Screening identifies offenders with SMI, assigns an appropriate diagnosis and
                  LOC

               Plaintiffs admit that the screening that takes place at EHCC rigorous and robust.5

    Additionally, when an offender is transferred directly to DWCC without going through EHCC

    (which does not happen often), DWCC administers the same screening process used by EHCC

    which is reviewed by an outside psychologist. Dr. Tucker was performing this function until she

    retired in January of 2020.6

               After the intake screening, offenders undergo a second screening upon intra-system

    transfer into DWCC. The intra-system screening at DWCC determines whether the offender has

    suicidal ideations, his psychiatric history, current psychotropic medications, current health

    complaints, current mental health problems, history of inpatient and outpatient psychiatric

    treatment, substance abuse history, and general observations of behavior, appearance, and

    2 R. Doc. 428, pp. 18-25.
    3 See Ex. 31, Dr. Thompson’s report at p. 42 (previously filed at R.Doc. 414-33); Pis. Ex. 11, Burns dep., at pp.
    38-40 & 13 (previously filed at R. Doc 418-6).
    4 R. Doc. 428, p. 26.
    5 R. Doc. 428, p. 18; Ex. 3, Bums dep., at p. 134 (previously filed at R. Doc 414-5). Indeed, Dr. Bums agreed that
    the screening at EHCC is “robust.”
    6 The duties will now be performed by the facility’s psychologist, Dr. Wood.

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     symptoms of psychosis, depression, anxiety and/or aggression.7 This intra-system screening at

     DWCC is generally performed by Steve Hayden.8 Considering that Hayden has a master’s in

     psychology and has worked at DWCC for ten years, it appears that Plaintiffs’ no longer assert

     that Hayden is unable to perform the screening.9

              Plaintiffs instead now argue that a psychologist does not review Hayden’s paperwork.10

     The Plaintiffs simply claim that Hayden testified that a psychologist was not on staff. This

     testimony was true, given that Dr. Tucker was an outside provider. However, as noted above,

    Hayden’s screening documents are reviewed by a psychologist. Moreover, after the intra-system

     intake screening into DWCC, offenders with mental illness see Dr. Seal, a licensed psychiatrist,

     or a medical doctor if Dr. Seal is unavailable.11

              The bottom line is that the screening process at both EHCC and DWCC identifies

    mental health issues, assigns an appropriate LOC, and results in appropriate mental health

    diagnoses.12 The screening process certainly meets standards that are far above the threshold of

    an Eighth Amendment violation.

        IV.      Security staff are well trained on mental health issues and Plaintiffs rely on
                 demonstrably flawed and seif-serving accounts.

              DWCC provides extensive mental-health first aid training for all staff. DWCC provides

    an eight-hour training session which is repeated annually. Plaintiffs’ expert, Dr. Burns was not

    critical of that training at all.13           Plaintiffs’ arguments relating to staff training rely on



    7 Ex. 22, Health Care Policy No. HCP37, §7(A)(3) (previously filed at R. Doc 414-24). Dr. Burns agreed that
    screening for these concerns is appropriate. Ex., 3, Bums dep., at 136 (previously filed at R. Doc 414-5).
    8 Ex. 9, Hayden dep., at p. 176 (previously filed at R. Doc 414-11).
    9 In fact, Plaintiffs’ own expert has opined that this type of screening can be performed by a correctional officer who
    is appropriately trained. Ex. 3, Bums dep., at p. 141 (previously filed at R. Doc 414-5).
    10 R. Doc. 428, p. 19.
    11 Ex. 3, Bums dep., atpp. 141^42 (previously filed at R. Doc 414-5).
    12 See Ex. 31, Dr. Thompson’s report at p. 42 (previously filed at R. Doc 414-33).; Ex. 3, Burns dep., at pp. 38
    & 134 (previously filed at R. Doc 414-5).
    13 Ex. 3, Bums dep., at pp. 186-87 (previously filed at R. Doc 414-5).

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  mischaracterizing staff-member’s answers at depositions when asked if they identified signs and

  symptoms of mental illness, rather than identifying persons that need contact with the mental

  health department because of how they are acting.14

           While the Plaintiffs claim that persons with mental illness are being “abused” or

  “overlooked”,15 the documentation shows that the men in restrictive housing are followed by

  mental health and have frequent contacts with those staff members.

           Plaintiffs’ deposition testimony does not provide the true story. For instance, Joshua

  McDowell testified, and Plaintiffs cite in their brief, that he was “locked up” for sleeping in

  class.    The records, however, show that, rather than being locked up for sleeping in class,

  McDowell lost 6 weeks of canteen for that incident.16 A year later, McDowell was, in fact,

  placed in restrictive housing for attempting to smuggle smokeless tobacco into the facility.17

  McDowell’s records also show that he was placed in maximum custody for an aggravated sex

  offense on July 13, 2018.18

           On March 13, 2019, Ronald Brooks was caught with contraband.19 On March 15, 2019,

  DWCC investigators concluded that Brooks was soliciting offenders to join his organization that

  has taken credit for prison strikes.20 Brooks was reassigned from medium custody to maximum

  custody. Brooks was seen by mental health on staff April 3, 22, and 24, 2019.21 As Brooks

  continued to report difficulty adjusting to restrictive housing, Mr. Burgos referred him to Dr.

  Seal who evaluated him and prescribed Zyprexa.



  14 See, e.g., Pis. Ex. 12, Baird dep., p. 57 (previously filed at R. Doc. 418-24).
  15 R. Doc. 428, at 74.
  16 Ex. 34, Offender Records in globo, DWCC 028621 (attached hereto).
  17 Ex. 34, DWCC 028622.
  18 Ex. 34, DWCC 028624
  19 Ex. 34, DWCC 114471.
  20 Ex. 34, DWCC 114469.
  21 Ex. 34, DWCC 114491-96.

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      V.       Mental Health Staff Identify and Diagnose Mental Illness

           Plaintiffs acknowledge that mental health staff completes an “Interview with a

  Segregated Inmate” form every 90 days (now every 60 days).22 In addition, mental health staff

  complete mental health progress notes for offenders 23

           The mental health clinicians make rounds at least weekly 24 Plaintiffs complain that

  the documentation is not adequate. The fact remains that the mental health staff do make

  rounds at least weekly.

           Plaintiffs then complain that the weekly rounds lack privacy.25 Any offender who

  requests individual counseling, is provided that opportunity through cell front sessions, or, if

  needed, individual private sessions.26 Moreover, there is no constitutional requirement that

  weekly rounds must be conducted in private sessions. See, Dockery v. Hall, 443 F. Supp. 3d

  726 (S.D. Miss. 2019). Plaintiffs finally assert that the mental health staff do not make

  adequate evaluations of offender’s mental health.27 Again, Plaintiffs’ lawyers’ arguments

  lack support from their own experts. As acknowledged by Dr. Burns, Dr. Seal appropriately

  diagnoses offenders and that the LOC assigned to offenders is appropriate.28




  22 R. Doc. 428, p. 21.
  23 R. Doc. 428, p. 21.
  24 Ex., 13, Robinson dep., at p. 160 (previously filed at R. Doc 414-15).; Ex. 2, Burgos dep., at p. 174 (previously
  filed at R. Doc 414-4).; Ex. 9, Hayden dep., at p. 54-55 (previously filed at R. Doc 414-11).
  25 R. Doc.428, p. 23.
  26 Ex. 2, Burgos dep., at p. 174 (previously filed at R. Doc 414-4).; Ex. 4, Dauzat dep. (02/21/2019), at p. 39-41
  (previously filed at R. Doc 414-6).; Ex. 13, Robinson dep., at p. 126 (previously filed at R. Doc 414-15).
  27 R. Doc. 428, p. 24.
  28 See Ex. 31, Dr. Thompson’s report at p. 42 (previously filed at R. Doc 414-33).; Ex. 3, Burns dep., at pp. 38
  & 134 (previously filed at R. Doc 414-5).

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      VI.      Staffing levels are sufficient

            Plaintiffs argue, without expert support, that the mental health staff levels are

  inadequate.29 The mental health staff staffing levels are easily within constitutional

  limitations. Dr. Burns’ opined that one mental health counselor for 60 to 65 inmates is

  appropriate.30 When presented with the actual numbers that the ratio was in that range, she

  conceded that the situation had improved significantly.31 Dr. Thompson opined directly that

  the staffing ratios are appropriate.32

            Plaintiffs argue that the psychiatric staffing in inadequate.33 That allegation does not

  rise to a constitutional violation. The traditional role of a psychiatrist working in a

  correctional facility is psychotropic medication management.34 Since Dr. Burns has no

  criticisms of Dr. Seal’s medication management, there is no constitutional issue with Dr.

  Seal’s role at DWCC.

            The real proof that the staffing levels are appropriate is two-fold. One, the diagnoses

  and LOC are appropriate, and, two, there is no backlog of services.35

      VII.     Mental health evaluations are performed

            Plaintiffs complain of the documentation generated by the mental health staff.36

  Plaintiffs actually note that the mental health staff generate documentation of their

  encounters through “Interview with a Segregated Inmate” and “Mental Health Progress

  notes.” Plaintiffs’ lawyers criticize the documentation, again with no expert opinion

  whatsoever. Plaintiffs’ primary complaint appears to be that these forms lack the level of

  29 R. Doc. P. 26.
  30 Ex. 3, Bums dep. at p. 170    (previouslyfiled at R. Doc 414-5).
  31 Ex. 3, Bums dep. atp. 171     (previouslyfiled at R. Doc 414-5).
  32 Ex. 31, Thompson rep. at p.   33 (previously filed at R. Doc 414-33).
  33 R. Doc. 428, p. 28.
  34 Ex. 3, Bums dep. at p. 159    (previouslyfiled at R. Doc 414-5).
  35 Ex. 1, Goodwin dec. at 4      (previouslyfiled at R. Doc 414-3).
  36 R. Doc. 428 pp. 24-25.

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  detail that the Plaintiffs’ think is appropriate. This argument is made without any support

  that forms completed “with virtually no level of detail” is an Eighth Amendment violation.

  Plaintiffs have no case law or even expert opinion to support such claims.

      VIII. DWCC has treatment plans

            A treatment plan is created for each offender.37 There is no dispute, however, that until

  recently, the treatment plans were similar.               DWCC has been recently implementing new

  individualized treatment plans.            However, a deficiency as to treatment plans is not a

  constitutional violation. See, Dockery v. Hall, 443 F. Supp. 3d 726, 748 (S.D. Miss. 2019).

      IX.      Individual counseling and programming are available.

            Plaintiffs argue that no treatment or programming is available on the South

  Compound.38 That assertion is not true. Individual counseling is provided by DWCC mental

  health staff to offenders housed in restrictive housing. Any offender who requests individual

  counseling, is provided that opportunity through cell front sessions, or, if needed, individual

  private sessions.39 Offenders in restrictive housing have access to program materials such as

  anger management, substance abuse, sex offender treatment, and parenting.40 These

  materials are provided to offenders in restrictive housing upon request.41 If any follow-up,

  counseling, questions, or help is needed, the offender can speak to a clinician about the

  material. DOC’s goal is to have the offender leave better than when they came to DOC.42

            Plaintiffs made no effort to distinguish the caselaw that failure to provide

  programming is not a constitutional violation. Dockery v. Hall, 443 F. Supp. 3d 726, 748

  37 Ex. 19, EPM #3-02-003, at pp. 7-8 (previously filed at R. Doc 414-21).
  38 R. Doc. 428 pp.33-40.
  39 Ex. 2, Burgos dep., at p. 174 (previously filed at R. Doc 414-4).; Ex. 4, Dauzat dep. (02/21/2019), at p. 39^11
  (previously filed at R. Doc 414-6).; Ex. 13, Robinson dep., at p. 126 (previously filed at R. Doc 414-15).
  40 Ex. 4, Dauzat dep. (02/21/2019), at p. 39—41 (previously filed at R. Doc 414-6).; Pis. Ex. 6, Hayden dep., at pp.
  126-27 (previously filed at R. Doc 418-26).
  41 Ex. 4, Dauzat dep., (02/21/2019), atp. 40M1 (previously filed at R. Doc 414-6).
  42 Ex. 15, Smith dep., p. 84 (previously filed at R. Doc 414-17).

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  (S.D. Miss. 2019) {citing Newman v. State of AL, 559 F.2d 283, 291 (5th Cir. 1977)). Only

  “extreme deprivation” of one or more of the “minimal civilized measures of life’s

  necessities” arise to a violation of the Eighth Amendment. Davis v. Scott, 157 F.3d 1003,

  1006 (5th Cir. 1998) (quoting Wilson v. Seiter, 501 U.S. 294, 304, 111 S. Ct. 2321, 2327

  (1991)).   The undisputed individual counseling and written programming provided by

  DWCC clearly meets the constitutional standards set forth in the relevant case law.

         Plaintiffs state that they “flatly reject the notion that David Wade prisoners are such

  high security risks that additional mental health care or therapy cannot be provided.”43

  Respectfully, the determination of the risk presented by offenders is left to the discretion of

  the state officials charged with making the determination to keep the public, staff, and other

  offenders safe. The offenders at DWCC are high risk and have engaged in acts of violence.

         Indeed, a former named plaintiff, Anthony Tellis, placed a pad lock in a pillow case

  and beat another offender to death upon being placed into general housing.44 While it is easy

  for Plaintiffs’ lawyers to argue that the risk is not great, the officials charged with keeping

  the public safe know better and do not have the luxury of not being responsible if the wrong

  decision is made from a security perspective.

         The United States Supreme Court has stated that prison administrators are to be accorded

  “wide-ranging deference in their adoption and execution of policies and practices that in their

 judgment are needed to preserve internal order and discipline and to maintain internal

  security.” Block v. Rutherford, 468 U.S. 576, 584-85 (1894); Roberts v. Vannoy, No. 16-CV-

  600-JWD-EWD, 2017 WL 2256962, at *2 (M.D. La. 2017). As a result, federal district courts

  should not allow themselves to become “enmeshed in the minutiae of prison operations.” Lewis


 43 R. Doc. 428, p. 39.
 44 Ex. 34, DWCC 013499-500

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  v. Casey, 518 U.S. 343 (1996) (citing Bell v. Wolfish, 441 U.S. 520, 561 (1979)); Roberts v.

  Vannoy, No. 16-CV-600-JWD-EWD, 2017 WL 2256962, at *2 (M.D. La. 2017).

     X. Medication policies arc adequate.

          The Plaintiffs continue to assert that offenders are transferred to DWCC without

  medication. These allegations now rely on self-serving testimony from offenders that clearly

  contradicts the documentary record. Plaintiffs argue that medications are not continued upon

  arrival at DWCC.45 After screening, if an offender is on medication, the medications are

  continued by the general medical doctor unless there is an indication that these medications

  may be harmful to the offender.46 Even Dr. Burns agreed that medications are continued

  upon arrival at DWCC.47

          Plaintiffs’ lawyers argue that medication management creates a significant risk of

  serious harm.48 Once again, Plaintiffs’ expert does not support the argument. Dr. Burns

  acknowledged that it was not unusual to see problems with Medication Administration

  Records (“MARs”).49

          While the Plaintiffs criticize DWCC’s electronic medical administration records, they

  ignore the failsafe that exists within the packaging of offender’s medication at DWCC. Each

  medication is packaged in a “blister pack” for 30- or 60-day supplies, depending on the

  medicine.50 The blister packs are numbered by day and the pill call officer and unit nurse can

  see how many days of doses are left.51 Medications are reordered when there are about 10 days



 45 R. Doc. 428, p. 41.
 46 Ex. 12, Norris dep., at p. 17 (previously filed at R. Doc 414-14).; Ex. 2, Burgos dep., at p. 235 (previously filed
 at R. Doc 414-4).; Ex. 13, Robinson dep., atpp. 156-57 (previously filed at R. Doc 414-15).
 47 Ex. 3, Burns dep., at p. 142 (previously filed at R. Doc 414-5).
 48 R. Doc. 428, pp. 42-51.
 49 Ex. 3, Bums dep. at p. 181 (previously filed at R. Doc 414-5).
 50 Pis. Ex. 60, Norris dep., p. 27 (previously filed at R. Doc 423-4).
 51 Pis. Ex. 60, Norris dep., p. 27 (previously filed at R. Doc 423-4).

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  of doses left52. The nurse on the night shift goes through each pill card to see what needs to be

  reordered.53 Dr. Burns agreed that the use of blister packs is another procedure for ensuring

  the medications are administered correctly.54

           Further, if offenders are having issues getting their medicine, they can notify security, fill

  out a sick call form, write a letter to mental health, file a grievance, or discuss the issue while

  mental health clinicians Eire making their rounds.55

           The court in Dockery found that to the extent the MARs reflect human error or poor

  record keeping, they do not amount to a violation of the Eighth Amendment. Dockery, 443 F.

  Supp. 3d at 740. Further, the court noted that there was insufficient evidence that the class

  “suffered substantial harm as a result of the missed doses or delays.” Id. Plaintiffs made no effort

  to distinguish Dockery. Further, the Plaintiffs have produced absolutely no evidence that the

  purported class has suffered any harm as a result of missed doses or delays in this case.

           In January of 2021 when the Advocacy Center was asked what offenders were not getting

  needed medication, they identified only Ron Brooks, Cody Doucet, Brennan Bellard, Travis

  McGee, and Corey Pittman.56              Now, after failing to provide a complete answer, at their

  deposition, they cite Bruce Charles, Tyler Blanchard, and Carlton Turner. Plaintiffs are bound

  by their answers at the deposition. Johnson v. Big Lots Stores, Inc., No. CfV.A. 04-3201, 2008

  WL 6928161, at *2 (E.D. La. May 2, 2008) (“Moreover, statements by corporate designees

  under Rule 30(b)(6) are binding on a corporate party because the corporation, by making the

  designation, ‘represents that the employee has authority to speak on behalf of the corporation.’”);




  52 Ex. 12, Norris dep., p. 27 (previously filed at R. Doc 414-14).
  53 Ex. 12, Norris dep., p. 26 (previously filed at R. Doc 414-14).
  54 Ex. 3, Bums dep. at p. 181 (previously filed at R. Doc 414-5).
  55 Pis. Ex. 60, Norris dep., p. 69 (previously filed at R. Doc 423-4).
  56 Ex. 6, 3rd Advocacy Center dep., p. 57 (previously filed at R. Doc 414-8).

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  Arkansas v. Hartford Cas. Ins. Co., No. 3:10-CV-322-HTW-LRA, 2014 WL 12321183, at *9

  (S.D. Miss. Mar. 23, 2014) (“Plaintiff is bound by its Rule 30(b)(6) deposition testimony . . .”).

            The records clearly show the following: Shawn Francis arrived at DWCC on November

  24. 2014 and had his medications, Zyprexa and Wellbutrin, continued by Dr. Hearn, DWCC’s

  medical doctor.57      Francis was scheduled to see Dr. Seal on December 11, 2014. After

  evaluation, Dr. Seal discontinued his Zyprexa and increased his Wellbutrin.            Francis was

  followed by Dr. Seal thereafter on January 7, 201558 and October 6, 201659 and his medications

  remained the same.

            The Plaintiffs raise Shawn Francis as an example that people are kept on extended

  lockdown despite their disciplinary history.60 Francis was convicted of armed robbery. Francis

  has a history of claiming he is suicidal when he is mad at security.61         Francis has spat on

  security.62 He has cursed at nursing staff.63 He defies security with the intention of escalating

  the situation to throw liquid on them.64 Francis has thrown feces inside and in front of another

  offenders’ cell.65 These incidents are merely a brief sampling of the dangerous behaviors Francis

  engages in that have resulted in institutional discipline.

            Theron Nelson arrived at DWCC on October 1, 2012 with no mental health medications

  prescribed at that time. He was seen by Dr. Seal on October 4, 2012, and he did not prescribe

  medication at that time.      On November 7, 2013, Dr. Seal saw Nelson and prescribed him




  57   Ex. 34, DWCC 153099, 152477.
  58   Ex. 34, DWCC 153105.
  59   Ex. 34, DWCC 153059.
  60   R. Doc. 428, p. 76.
  61   Ex. 34, DWCC 153026-27, DWCC 152993-94.
  62   Ex. 34, DWCC 003847, 176358.
  63   Ex. 34, DWCC 135275-76.
  64   Ex. 34, DWCC 135485.
  65   Ex. 34, DWCC 176418.

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  Risperidone (Risperdal) and Trazadone.66 Nelson has been treated by mental health since 2013

  and is currently prescribed Remeron and Depakote.67

             Nelson is yet another offender the Plaintiffs have identified as a person who is kept in

  restrictive housing despite their record.68 In 2017, Nelson had monthly sessions with Steve

  Hayden.69

             James White arrived at DWCC on November 28, 2017 with no prescribed mental health

  medications and a Level of Care 5. He saw Dr. Seal in January of 2018 where he was prescribed

  Fluphenazine (Prolixin), Benztropine (Cogentin), and Sertraline (Zoloft).70 He is currently a

  Level of Care 3 and lives in general population with prescriptions of Effexor and Remeron.71

             Jacoby Batiste arrived at DWCC on August 28, 2017 with prescriptions for Paxil and

  Benadryl. Batiste reported at intake that he was taking Risperdal, but his records did match his

  self-report.       Batiste was transferred back to EHCC on September 5, 2017.          Batiste was

  transferred back to DWCC on September 11, 201772 and saw Dr. Seal on the 21st.73 On October

  5, 2017, Batiste had his medications discontinued by Dr. Seal for noncompliance.74              On

  September 6, 2018, Batiste was diagnosed at EHCC as malingering for sedating psychiatric

  medication.75 Dr. Seal restarted Risperidone on November 3, 2018.76 Batiste was released from

  custody in July of 2020.




  66   Ex. 36, Supplemental Offender Prescription Records (attached herto).
  67   Ex. 36.
  68   R. Doc. 428, p. 76.
  69   Ex. 34, DWCC 103959-60.
  70   Ex. 34, DWCC 113326-27; See also, Ex. 36.
  71   Ex. 36.
  72   Ex. 34, DWCC 146002.
  73   Ex. 34, DWCC 146049.
  74   Ex. 34, DWCC 146048.
  75   Ex. 34, DWCC 146599.
  76   Ex. 34, DWCC 146231, 113200.

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                 Demarcus Thomas arrived at DWCC on August 31. 2015 with a prescription of

  Trazadone and Imipramine (Tofanil).77 His medications were continued by Dr. Hearn until he

  was seen by Dr. Seal on September 3 , 20 1 5.78 Dr. Seal noted that Thomas did not have a mental

  health diagnosis and that he was being treated by medical for chronic pain and a sleep disorder.

  After complaining about anxiety in 2020 he was started on Buspirone (Buspar) by Dr. Seal and

  followed by the mental health staff.79

             Travis McKee arrived at DWCC on February 8, 2016 with prescriptions for Quetiapine

  (Seroquel) and Citalopram (Celexa).80 McKee was seen by Dr. Seal on February 16, 2016 who

  ordered his Seroquel tapered down over a period of 3 weeks and then discontinued.81 Thereafter,

  he continued the Celexa and started Mirtazapine (Remeron).82

             Brennan Bellard arrived at DWCC on March 27, 2019 with a prescription for

  Amitriptyline (Elavil) that was continued until he could see Dr. Seal.83 He saw Dr. Seal on April

  4, 2019 who discontinued Elavil and ordered Divalproex sodium (Depakote) and Trazadone.84

  Depakote was discontinued in May of 2019 due to elevated levels and Olanzapine (Zyprexa) was

  ordered.85 Bellard is now housed in general population at DWCC.

             The pertinent part of Cody Doucet’s record is as follows. He arrived at DWCC on

  October 15, 2018 with a prescription for Divalproex sodium (Depakote) after an attempted

  escape from work release in Baton Rouge.86 Dr. Hearn continued his medications on October 17,




  77 Ex.   36.   Supplemental Offender Prescription Records.
  78 Ex.   36.
  79 Ex.   36.
  80 Ex.   36.
  81 Ex.   36.
  82 Ex.   36.
  83 Ex.   34,   DWCC   113200; Ex. 36.
  84 Ex.   34,   DWCC   113200; Ex. 36.
  85 Ex.   34,   DWCC   113200; Ex. 36.
  86 Ex.   34,   DWCC   175766.

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  2018 and reordered them on October 27, 2018.87 He was transferred back to EHCC to attend

  court on his attempted escape charge.88 He returned to DWCC on March 4, 2019. On March 29,

  2019, Aerial Robinson ordered a standard suicide watch for Doucet after he cut his wrist with a

  paper clip in an attempt to get a transfer.89 On March 12, 2019, Dr. Seal changed his medication

  to Citalopram (Celexa).90 On August 12, 2019, Doucet was transferred to Hunt to attend court

  related to his escape attempt. He saw Dr. Seal on September 5, 2019 where he continued him on

  Prozac and added Trazadone. Doucet claims that he did not receive his medicine for 2 months,

  however, the records show that he did receive those medications.

             Not only does the record documentation wholly refute Plaintiffs’ self-serving statements,

  but more importantly, Plaintiffs have failed to show any actual harm that resulted in connection

  with medication distribution in this case. The bottom line is that Plaintiffs self-serving statements

  are not supported by the record documentation and do not create a genuine issue of material fact

  in this case.

         XI. Plaintiffs’ argument that Defendants do not respond to decompensation is
                 unsupported

             Plaintiffs’ lawyers argue that Defendants do not respond appropriately to

  decompensation.91 In one particularly egregious insinuation, the Plaintiffs note that Torre

  Huber died at DWCC prior to launching into his alleged mental health issues at the

  facility.92 The record is clear, however, that Torre Huber died of hypertensive atherosclerotic

  cardiovascular disease while at DWCC—not related to his mental health treatment.93



  87   Ex. 34, DWCC 113221.
  88   Ex. 34, DWCC 175794.
  89   Ex. 34, DWCC 175947.
  90   Ex. 34, DWCC 113221.
  91   R. Doc. 428 pp. 51-61.
  92   See R. Doc. 428 pp. 57-59.
  93   Ex. 34, DWCC 103836-43.

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           Beyond the issue with Mr. Huber, Plaintiffs’ section contains zero cites to any expert

  to support their argument. Indeed, the testimony by Dr. Burns is that Dr. Seal properly

  diagnoses offenders and manages their medication.                    Without expert support, this whole

  section should be rejected.

      XII.     DWCC fully complies with its obligation to prevent suicide.

           Plaintiffs’ arguments as to suicide watch are disingenuous and lack candor

  considering the testimony of their own expert, Dr. Burns. Contrary to Plaintiffs’ lawyers’

  arguments, Dr. Burns had few criticisms of DWCC’s use of suicide watch.

           DWCC trains the correctional staff to identify suicide risk factors. Dr. Bums had no

  criticisms of that training.94 If an offender is found expressing suicidal thoughts or taking

  suicidal actions, DWCC’s mental health clinicians can order a suicide watch.95 There is and

  needs to be a low threshold for initiating suicide watch.96 It is better to err on the side of caution

  and initiate suicide watch rather than risk a completed suicide.97 The mental health staff makes

  the decision to both initiate and terminate suicide watch.98 The mental health staff makes the

  decision as to what property the offender can retain while on suicide watch.99

           Suicide watch at DWCC can either be “standard” or “extreme.”100 Contrary to Plaintiffs’

  lawyers’ arguments, extreme suicide watch is used in other facilities. Dr. Burns’ only criticism of

  extreme suicide watch was the use of steel restraints.101 Offenders on suicide watch are seen for




  94 Ex. 3, Bums dep., at p. 186 (previously filed at R. Doc 414-5).
  95 Ex. 4, Dauzat dep. (02/21/2019), at p. 65-66 (previously filed at R. Doc 414-6).
  96 Ex. 3, Bums dep., at p. 187 (previouslyfiled at R. Doc 414-5).
  97 Ex. 3, Bums dep., atp. 187 (previouslyfiled at R. Doc 414-5).
  98 Ex. 3, Bums dep., at p. 189 (previouslyfiled at R. Doc 414-5).
  99 Ex. 3, Bums dep., at p. 189 (previouslyfiled at R. Doc 414-5).
  100 Ex. 18, EPM #03-02-001 (previously filed at R. Doc 414-20).
  101 Ex. 3, Bums dep. atp. 188 (previously filed at R. Doc 414-5).

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  mental health concerns daily.102 These facts are undisputed.

           DWCC does not have a problem with too many completed suicides.103 In terms of the

  numbers, Plaintiffs’ experts did not find that the number of suicide watches was disproportionate

  and found that the average length of a suicide watch at DWCC is consistent with the national

  average.104 Though the Plaintiffs have pleaded that Defendants use suicide watch as punishment,

  at Disability Rights’ organizational deposition, it conceded that offenders were conflating the

  administrative option to prevent offenders from throwing substances on others or the tier—

  Offender Posted Policy 34—with suicide watch.105 Again, these facts are undisputed.

           Plaintiffs’ lawyers argue that DWCC does not have a mental health unit or a suicide

  watch unit. There is no constitutional requirement that DWCC have a mental health unit or a

  suicide watch unit. To the contrary, Dr. Burns acknowledged that other facilities use segregation

  for suicide watch.106

           The proof that DWCC’s suicide watch is constitutional is that the experts agree it does

  not overuse suicide watch and does not have a problem with too many completed suicides.

  Plaintiffs’ cannot show that Defendants’ suicide prevention policies or practices violate the

  Eighth Amendment.

      XIII. Offender Posted Policy 34 Does Not Create a Substantial Risk of Serious Harm.

           Offender Posted Policy 34 (“Policy 34”) is an administrative remedy available for

  offenders who throw items on others or on the tier. An offender may be placed on strip cell

  status if the offender engages in any of the following behaviors: 1) throws human waste


  102 Ex. 3, Bums dep., at p. 189 (previously filed at R. Doc 414-5). Mental health staff see the offenders on suicide
  watch during the week. Nurses see offenders on suicide watch on the weekend.
  103 Ex. 3, Bums dep., at p. 200 (previously filed at R. Doc 414-5).
  104 Ex. 3, Bums dep., at p. 202-03 (previously filed at R. Doc 414-5).
  105 Ex. 6, 3rd Disability Rights dep., at pp. 26-55 (previously filed at R. Doc 414-8). See also Ex. 24, Offender
  Posted Policy 34 (previously filed at R. Doc 414-26).
  106 Ex. 3, Bums dep., at p. 189 (previously filed at R. Doc 414-5).

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  anywhere; 2) spits; 3) stores weapons, human feces of urine inside the cell; 4) throwing items at

  any person on the tier; 5) uses items to barricade their cell; 6) making threats against another

  while in immediate possession of an item that may be used as a weapon; 7) flooding of a cell; 8)

  committing an act of violence against another person; or 9) participation in a major disturbance.

  All of these prohibited behaviors directly bear on the safety, security, and discipline of the

  facility. Policy 34 can only be instituted by a shift supervisor or above and the shift supervisor

  must review each offender every 4 hours.

           A first offense results in this status for one day.107              Offenders who persist in these

  behaviors after being placed on Policy 34 or who have a documented pattern of behavior

  prohibited by Policy 34 may be placed in this status for up to 30-days.108 Policy 34 has been

  challenged numerous times in both state and federal courts and has been upheld.

          In Peterson v. Michael, 42,315 (La. App. 2 Cir. 6/20/07), 960 So. 2d 1260, 1264, the
  court held:

          Furthermore, like the trial court, we conclude that Peterson failed to establish any
          constitutional violation or illegality as to the posted policy. At the time of the
          hearing, Peterson was no longer on strip cell tier, and counsel for the defendants
          agreed that he could not be placed back on it without a new infraction. There was
          no basis for the granting of injunctive relief in Peterson’s favor and consequently
          we reverse and vacate the injunction.

          In James v. LeBlanc, No. 09-CV-1592, 2011 WL 6842516, at *8 (W.D. La. Nov. 16,

  2011), report and recommendation adopted, No. 09-CV-1592, 2011 WL 6842512 (W.D. La.

  Dec. 29, 2011), the court held:




  107 Ex. 24, Policy 34(S)(2)(g) (previously filed at R. Doc 414-26).
  108 As of May 2021, offenders who persist in prohibited behaviors while on Policy 34 or offenders with a
  documented pattern of behavior can be assigned to this status for seven (7) days. Offenders are reviewed for release
  back to regular assignment at least every 7 days by the Unit Manager and a Classification Officer.
  Recommendations to release or not release from this status must be approved by the Warden or Designee.
  Continued violent behavior, as outlined in Policy 34, may result in the offender remaining in this status.

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         Courts have rejected similar claims that confinement to a strip cell generated due
         process claims. See e.g., Duncan v. Levenhagen, 2000 WL 557009, *2 (7th
         Cir.2000) (placement in strip cell without food for 10 to 12 hours did not impose
         an atypical and significant hardship); Seltzer-Bey v. Delo, 66 F.3d 961 (8th
         Cir.1995) (strip cell for two days without clothing, bedding, or running water,
         with a concrete floor, a concrete slab for a bed, and cold air blowing; procedural
         due process claim dismissed); Bone v. Walker, 2010 WL 375320 (C.D.Ill.2010)
         (strip cell for eight days, without a mattress or clothing for 24 hours, was not
         atypical or a significant hardship); Demerson v. Woodford, 2009 WL 498199
         (E.D.Cal.2009) (three days in strip cell did not give rise to due process
         claim); Dunkley v. Tate, 2007 WL 2900169 (W.D.Va.2007) (three days
         in strip cell without clothing or personal property, with only a smock and
         mattress, did not present due process claim); and Lloyd v. Briley, 2007 WL
         917385 (M.D.Ill.2007) (strip cell with no sheets, toilet paper, or personal property
         for 13 days did not give rise to procedural due process claim). Plaintiffs
         procedural due process claim should be dismissed.

         Policy 34 has been tested in the legal crucible across the country and has not been found

  to amount to a constitutional violation. The Plaintiffs do not cite a single case holding otherwise.

  Their arguments should be rejected.

     XIV. Defendants Do Not Use Excessive Force and Plaintiffs’ Claims Are Not
          Appropriate for Class Determination

         Plaintiffs attempt to make a case about mental health treatment into a class claim for use

  of excessive force. The Plaintiffs cite offenders Willie Dillon, Demarkus Thomas, Brian

  Covington, Chris Solomon, Shawn Francis, Cody Doucet, Alvin Ball, James White, Joshua

  Isaac, and Dameion Brumfield, none of which are named plaintiffs in this case.

         While Defendants unequivocally deny any allegations of excessive force, class actions

  are not an appropriate vehicle for a challenge to uses of force.                 Excessive force in

  the prison context requires the evaluation of the nature and amount of force used, the extent of

  the injury suffered, and whether the force was used to keep order or for a malicious purpose,

  among other things. See Wilkins v. Gaddy, 559 U.S. 34, 130 S.Ct. 1175, 1177-79, 175 L.Ed.2d


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  995 (2010) (rejecting the notion that significant physical injury is a necessary element of an

  Eighth Amendment excessive force claim but noting that the extent of the injury suffered is “one

  factor” suggesting whether the use of force could plausibly have been thought necessary in a

  particular situation).

          “Excessive force claims are necessarily fact-intensive; whether the force used is

  ‘excessive’ or ‘unreasonable’ depends on ‘the facts and circumstances of each particular case.’”

  Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir. 2009) (discussing Fourth Amendment excessive

  force claims); see also Carter v. Wilkinson, Civ. A. No. l:06-cv-02150, 2010 WL 5125499, at

  *2 (W.D.La. Dec.9, 2010) (quoting Deville and discussing Eighth Amendment excessive force

  claims). Because excessive force claims require individualized, fact-based details of particular

  situations, participation of the individual members who were allegedly subjected to the harm is

  necessary for the proper adjudication of each claim. See Doe v. Bailey, No. CIV.A. H-14-2985,

  2015 WL 5737666, at *4 (S.D. Tex. Sept. 30, 2015), aff’d sub nom. Prison Just. League v.

  Bailey, 697 F. App’x 362 (5th Cir. 2017). Anecdotes without context do not meet the standard of

  showing that excessive force was used.

          The Plaintiffs also raise unsubstantiated allegations of using cold temperatures to

  “punish” people on suicide watch.109            At their 30(b)(6) depositions, the Advocacy Center

  reported that windows were left open once, on January 2, 2018.110 When asked who opened the

  windows, the Advocacy Center could not identify a single person.111 A review of the logs for

  January 2, 2018 shows that the temperatures in the buildings around this time were as follows:

  N1 70 degrees112 N2 - 69 degrees,113              N3 - 70 degrees,114         N4 - 70 degrees.115           These


  109 R. Doc. 428, p. 71.
  110 Ex. 35, Supplemental Testimony of the Advocacy Center, 3rd Advocacy Center dep., pp. 168-70 (attached
  hereto).
  111 Ex. 35, 3rd Advocacy Center dep., p. 170.
  112 Ex. 34, DWCC 037916 & 042476

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  temperatures were reported despite shift changes. There is no documentary evidence supporting

  the Advocacy Center’s allegation of punishing using cold temperatures.

     XV.      Conclusion

         Defendants are entitled to summary judgment.          The undisputed facts show that

  Defendants identify offenders with mental health issues and provide mental health care to

  offenders at DWCC. The Defendants respectfully request that this Court grant this motion

  dismissing the Plaintiffs’ claims under the Eighth Amendment.

                                              Respectfully Submitted:
                                              JEFF LANDRY,
                                              ATTORNEY GENERAL

                                              BUTLER SNOW, LLP
                                              445 North Boulevard, Suite 300 (70802)
                                              P. O. Box 2997
                                              Baton Rouge, Louisiana 70821-2997
                                              Telephone: (225) 325-8700
                                              Facsimile: (225) 325-8800

                                              By: /s/ Randal J. Robert________________
                                                      Randal J. Robert (#21840)
                                                      Connell L. Archey (#20086)
                                                      Keith J. Fernandez (#33124)
                                                      Special Assistant Attorneys General
                                                      Email: randv.robert@butlersnow.com
                                                              connell .archey@butlersnow.com
                                                              keith.femandez@butlersnow.com

                                                     Counsel for Defendants

                                      CERTIFICATE OF SERVICE

          I hereby certify that on the 19th day of July 2021, I electronically filed the foregoing
  pleading with the Clerk of Court using the CM/ECF system which will send a notice of
  electronic filing to all counsel of record.
                                  ______/s/ Randal J. Robert________
                                              Randal J. Robert

  113 Ex. 34, DWCC 052683
  114 Ex. 34, DWCC 062887 & 062890.
  115 Ex. 34, DWCC 068571

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